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  1 TIMOTHY J. YOO (State Bar No. 155531)
      tjy@lnbyg.com
  2 CARMELA T. PAGAY (State Bar No. 195603)
      ctp@lnbyg.com
  3 LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
    2818 La Cienega Avenue
  4 Los Angeles, California 90034
    Telephone: (310) 229-1234
  5 Facsimile: (310) 229-1244
  6 Attorneys for Jason Rund
      Chapter 7 Trustee
  7
  8                        UNITED STATES BANKRUPTCY COURT
  9
                            CENTRAL DISTRICT OF CALIFORNIA
 10
                                      LOS ANGELES DIVISION
 11
 12    In re                                       Case No. 2:20-bk-21020-BR

 13    THOMAS VINCENT GIRARDI,                     Chapter 7

 14                                                CHAPTER 7 TRUSTEE’S MOTION TO
                                    Debtor.        APPROVE COMPROMISE WITH
 15                                                PARTNERS OF 1126 WILSHIRE
                                                   PARTNERSHIP; DECLARATION OF
 16                                                JASON M. RUND IN SUPPORT
                                                   THEREOF
 17                                                Date: [No Hearing Required]
 18                                                Time:
                                                   Place: Courtroom 1668
 19                                                       U.S. Bankruptcy Court
                                                          255 E. Temple Street
 20                                                       Los Angeles, California

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  1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY
  2 JUDGE:
  3          Jason M. Rund, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

  4 Thomas Vincent Girardi (the “Debtor”), hereby moves this Court for an order pursuant to Rule
  5 9019 of the Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rule 9013-1(o) to
  6 approve a settlement among the partners of 1126 Wilshire Partnership in accordance with the
  7 Settlement Agreement dated September 9, 2021 (the “Agreement”). A true and correct copy of
  8 the Agreement is attached as Exhibit 1 and is incorporated herein by reference.
  9                                                   I.

 10                                         INTRODUCTION

 11          The Trustee, after numerous discussions with the Partners (defined below), negotiated

 12 an agreement by which all of the issues and claims between the estate and the Partners with
 13 respect to the office building located at 1126 Wilshire Boulevard, Los Angeles, California (the
 14 “1126 Property”) will be resolved. In short, settlement will afford the Trustee the opportunity
 15 to: (a) obtain for the estate a guaranteed $100,000; (b) settle the claims against the Debtor for
 16 breach of fiduciary of duty; and (c) avoid costly litigation in a pending state court action.
 17                                                  II.

 18                                    FACTUAL BACKGROUND

 19          On December 17, 1986, a partnership to be known as 1126 Wilshire Partnership (the

 20 “Partnership”) purchased the 1126 Wilshire Property. On or around May 1, 2015, the Debtor
 21 executed a Partnership Agreement (the “Partnership Agreement”), which listed the Debtor as
 22 holding a 70.833335% ownership interest in the Partnership. The Partnership Agreement listed
 23 Anna M. Girardi, John Girardi, Robert M. Keese, Jennifer Crane, Jill O’Callahan (as successor
 24 in interest to James G. O’Callahan), Robert W. Finnerty, Vincent Girardi, Patrick L. Girardi,
 25 Kenneth P. Girardi, Jacqueline A. Lira, and Matthew G. Girardi (collectively, the “Partners”) as
 26 partners holding the remaining ownership interests in various percentages. A true and correct
 27 copy of the Partnership Agreement is attached as Exhibit 2.
 28



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  1          On or about December 6, 2018, the Debtor caused a deed of trust to be recorded against

  2 the Property in favor of Nano Banc (Inst. No. 20181231537) to secure that certain promissory
  3 note dated November 15, 2018 in the original principal amount of $3,210,000. A default was
  4 declared by Nano Banc, and on July 23, 2021, Nano Banc recorded a Notice of Default and
                                                st                           st
  5 Election to Sell Under Deed of Trust (the “1 TD NOD”). According to the 1 TD NOD, the
                                                                                               st
  6 sum of $407,439.09 was due and owing as of June 30, 2021. A true and correct copy of the 1
  7 TD NOD is attached as Exhibit 3.
  8          On December 6, 2018, the Debtor caused a deed of trust to be recorded against the

  9 Property in favor of Nano Banc (Inst. No. 20181231538) to secure that certain promissory note
 10 dated August 20, 2018 in the original principal amount of $4,250,000 in which Girardi Keese
 11 was the borrower. A default was declared by Nano Banc, and on July 23, 2021, Nano Banc
                                                                                 nd
 12 recorded a Notice of Default and Election to Sell Under Deed of Trust (the “2 TD NOD”).
                      nd
 13 According to the 2 TD NOD, the sum of $4,537,819.42 was due and owing as of June 30,
                                          nd
 14 2021. A true and correct copy of the 2 TD NOD is attached as Exhibit 4.
 15          Partners Robert Keese, Robert Finnerty and Jill O’Callahan (the “Plaintiffs”) assert that

 16 the Debtor executed the foregoing deeds of trust without the knowledge or authorization of the
 17 Partners. On December 14, 2020, the Plaintiffs filed a “Complaint for Accounting, Dissolution
 18 of Partnership, Breach of Fiduciary Duty, Conversion, Fraud, to Quiet Title and Injunctive
 19 Relief” against the Debtor, the Partnership and other defendants, commencing the action
 20 pending in the Superior Court of the State of California, County of Los Angeles at Case No.
 21 20STCV47657 (the “Superior Court Action”). A true and correct copy of the complaint is
 22 attached as Exhibit 5.
 23          On December 18, 2020, an Involuntary Petition was filed against the Debtor under

 24 chapter 7 of title 11 of the United States Code. The Order for Relief was entered on January 13,
 25 2021, and the Debtor’s bankruptcy case (the “Case”) is pending as Case No. 2:20-bk-21020-BR.
 26          The Trustee disputes claims asserted by the Plaintiffs and the Partners concerning the

 27 Partnership. In order to avoid the cost of litigating such disputes, the Trustee has agreed to
 28 assign the Debtor’s interest in the Partnership to Robert Finnerty (one of the Partners) in



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  1 exchange for a $100,000.00 payment, the dismissal of the Superior Court Action against the
  2 Debtor, and the release of the bankruptcy estate asserted in or arising out of the Superior Court
  3 Action by all of the Partners.
  4                                                    III.

  5                          THE COMPROMISE SHOULD BE APPROVED

  6          A.       The bankruptcy rules allow the Court to approve compromises of

  7                   controversies.

  8          Rule 9019(a) states that “the court may approve a compromise or settlement.” Fed. R.

  9 Bankr. P. 9019(a). The decision of whether a compromise should be accepted or rejected lies
 10 within the sound discretion of the Court. In re Carson, 82 B.R. 847, 852 (Bankr. S.D. Ohio
 11 1987); In re Hydronic Enterprise, Inc., 58 B.R. 363, 365 (Bankr. D.R.I. 1986); In re Mobile Air
 12 Drilling Co., Inc., 53 B.R. 605, 607 (Bankr. N.D. Ohio 1985); Knowles v. Putterbaugh (In re
 13 Hallet), 33 B.R. 564, 565 (Bankr. D. Me. 1983). For the reasons set forth below, the Court
 14 should approve the Agreement.
 15          Sound discretion is judicial power exercised fairly and equitably. As the Supreme

 16 Court noted, the term “discretion” denotes the absence of a hard and fast rule:
 17                        When invoked as a guide to judicial action, it means a sound
                  discretion, that is to say, a discretion exercised not arbitrarily or willfully,
 18               but with regard to what is right and equitable under the circumstances and
                  the law, and directed by the reasonableness and conscience of the judge to
 19               a just result.
 20
 21 Langnes v. Green, 282 U.S. 531, 541 (1931).
 22          Correspondingly, the Ninth Circuit has recognized that “the bankruptcy court has great

 23 latitude in approving settlements.” In re Woodson, 839 F.2d 610, 620 (9th Cir. 1988).
 24          B.       Case law supports approval of the Agreement.

 25          It is well-established that, as a matter of public policy, settlements are favored over

 26 continued litigation. See, e.g., In re A & C Properties, 784 F.2d 1377 (9th Cir. 1986); In re
 27 Blair, 538 F.2d 849, 851 (9th Cir. 1976); In re Heissenger Resources, Ltd., 67 B.R. 378, 382
 28 (C.D. Ill. 1986).



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  1          The focus of inquiry in reviewing and approving compromises is whether the settlement

  2 is reasonable under the particular circumstances of the case. See In re General Store of Beverly
  3 Hills, 11 B.R. 539 (9th Cir. BAP 1981). It is not the bankruptcy judge’s responsibility to decide
  4 the numerous questions of law and fact with respect to the merits of the litigation, but rather to
  5 “canvas the issues and see whether the settlement falls below the lowest point of the range of
  6 reasonableness.” Heissenger Resources, 67 B.R. at 383.
  7          Among the factors to be considered in determining whether a settlement is fair, equitable

  8 and reasonable are the following:
  9                 (a)      the probability of success in the litigation;

 10                 (b)      any impediments to collection;

 11                 (c)      the complexity, expense, inconvenience, and delay of litigation; and

 12                 (d)      the interest of creditors with deference to their reasonable opinions.

 13 See A & C Properties, 784 F.2d at 1381.
 14          From an analysis of the foregoing factors in this case, the Court should conclude that the

 15 terms of the Agreement are fair and equitable and well within the range of reasonableness.
 16                 1. The probability of success on the claims in the Superior Court Action is

 17                       uncertain.

 18          The Plaintiffs allege that the Debtor, without the authorization of the Partners,

 19 encumbered the Property with the deeds of trust in favor of Nano Banc, which in turn deprived
 20 the Partners of significant equity. The Trustee and his counsel have reviewed the Debtor’s
 21 documents and have been unable to locate any evidence that the liens were placed on the
 22 Property with the Partners’ knowledge. Further, the Trustee has been unable to interview the
 23 estate’s key witness (i.e., the Debtor) due to the conservatorship.
 24          Without supporting evidence, the Trustee is uncertain of the outcome of the Superior

 25 Court Action should it proceed to trial.
 26                 2. There are no impediments to collection.

 27          There is no impediment to collection. Rather, the Agreement provides that the estate

 28 shall receive funds from one of the Partners.



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  1                  3. The complexity of issues and expense for the estate.

  2          The legal and factual issues involved are not complex. However, estate will have to

  3 incur litigation fees and expenses to defend the Superior Court Action, with no guarantee of a
  4 better result. Without the Agreement, the administration of the estate’s interest in the 1126
  5 Property will delayed until the resolution of the Superior Court Action.
  6                  4. The Agreement benefits the estate’s creditors.

  7          The estate has a 70.833335% ownership interest in the Partnership. In their complaint,

  8 the Plaintiffs assert that the Property has a value of $7,500,000. Notwithstanding the Plaintiffs’
  9 claims to quiet title against Nano Banc, the Trustee assumes that the liens are valid as against
 10 the estate’s interest (since the Debtor executed the deeds of trust). With that assumption, the
 11 estate’s interest is worth $0.00, calculated as follows:
 12                  $7,500,000      FMV
                     $3,210,000      Nano Banc 1st TD (face amount)
 13                  $4,537,819      Nano Banc 2nd TD (based on 2nd TD NOD)
                       $375,000      Costs of Sale (est. 5%)
 14                   <$622,897>

 15          Instead of abandoning the estate’s interest in the Partnership, the Trustee negotiated the

 16 Agreement, which will gain $100,000 for the estate. The proposed assignment of the estate’s
 17 interest should also benefit all of the Partners, who will finally have an ability to protect the
 18 1126 Property from foreclosure. Accordingly, the Trustee submits that the Agreement is fair,
 19 reasonable, and in the best interest of the estate and its creditors, and should therefore be
 20 approved by the Court.
 21                                                   IV.

 22                                            CONCLUSION

 23          Based on the foregoing, the Trustee respectfully requests that the Court enter an order:

 24          1.      Granting the Motion;

 25          2.      Approving the Agreement;

 26          3.      Authorizing and directing the Trustee and the Partners to take any and all steps

 27 necessary to effectuate the Agreement; and
 28 ///



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  1         4.    Providing such other and further relief as is just and proper.

  2
      DATED: October 29, 2021                    LEVENE, NEALE, BENDER, YOO &
  3                                              BRILL L.L.P.
  4                                              By:       /s/ Timothy J. Yoo
  5                                                        TIMOTHY J. YOO
                                                           CARMELA T. PAGAY
  6                                                     Attorneys for Jason Rund
                                                           Chapter 7 Trustee
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  1                               DECLARATION OF JASON RUND

  2         I, Jason Rund, declare as follows:

  3         1.      I am the duly-appointed, qualified, and acting Trustee for the bankruptcy estate of

  4 Thomas Vincent Girardi. I have personal knowledge of the matters set forth herein and if called
  5 as a witness could and would testify competently thereto. I submit this Declaration in support of
  6 the accompanying Motion to Approve Compromise with Partners of 1126 Wilshire Partnership
  7 (the “Motion”). Unless the context indicates otherwise, capitalized terms herein shall have the
  8 meaning as defined in the Motion.
  9          2.     I am requesting authority to enter into and consummate the Agreement that I

 10 entered into with the Partners, which guarantees a payment of $100,000 to the estate, settles the
 11 claims against the Debtor for breach of fiduciary of duty, and avoids costly litigation in a
 12 pending state court action. A true and correct copy of the Agreement is attached hereto as
 13 Exhibit 1 and is incorporated herein by reference.
 14          3.     A true and correct copy of the Partnership Agreement is attached as Exhibit 2.

 15          4.     On or about December 6, 2018, the Debtor caused a deed of trust to be recorded

 16 against the Property in favor of Nano Banc (Inst. No. 20181231537) to secure that certain
 17 promissory note dated November 15, 2018 in the original principal amount of $3,210,000. A
 18 default was declared by Nano Banc, and on July 23, 2021, Nano Banc recorded a Notice of
                                                            st                           st
 19 Default and Election to Sell Under Deed of Trust (the “1 TD NOD”). According to the 1 TD
 20 NOD, the sum of $407,439.09 was due and owing as of June 30, 2021. A true and correct copy
            st
 21 of the 1 TD NOD is attached as Exhibit 3.
 22          5.     On December 6, 2018, the Debtor caused a deed of trust to be recorded against

 23 the Property in favor of Nano Banc (Inst. No. 20181231538) to secure that certain promissory
 24 note dated August 20, 2018 in the original principal amount of $4,250,000 in which Girardi
 25 Keese was the borrower. A default was declared by Nano Banc, and on July 23, 2021, Nano
                                                                                      nd
 26 Banc recorded a Notice of Default and Election to Sell Under Deed of Trust (the “2 TD
                             nd
 27 NOD”). According to the 2 TD NOD, the sum of $4,537,819.42 was due and owing as of
                                                   nd
 28 June 30, 2021. A true and correct copy of the 2 TD NOD is attached as Exhibit 4.



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                                                                   to: Stanley              Page
                                                                               Mosk Courthouse,      38Officer:
                                                                                                Judicial of 54Gregory Alarcon




                              COMPLAINT FOR ACCOUNTING, DISSOLUTION OF PARTNERSHIP, BREACH OF FIDUCIARY DUTY,
                                          CONVERSION, FRAUD, TO QUIET TITLE AND INJUNCTIVE RELIEF
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  1
                                    PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

      A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE’S MOTION TO
  4   APPROVE COMPROMISE UNDER FRBP 9019 WITH PARTNERS OF 1126 WILSHIRE
      PARTNERSHIP will be served or was served (a) on the judge in chambers in the form and manner
  5   required by LBR 5005-2(d); and (b) in the manner stated below:
  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On October 29, 2021, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  8   to receive NEF transmission at the email addresses stated below:

  9            Rafey Balabanian rbalabanian@edelson.com, docket@edelson.com
               Shraddha Bharatia notices@becket-lee.com
 10            Ori S Blumenfeld ori@marguliesfaithlaw.com,
                Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaithL
 11             aw.com
               Evan C Borges eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
 12            Richard D Buckley richard.buckley@arentfox.com
               Marie E Christiansen mchristiansen@vedderprice.com,
 13             ecfladocket@vedderprice.com,marie-christiansen-4166@ecf.pacerpro.com
               Jennifer Witherell Crastz jcrastz@hrhlaw.com
 14            Ashleigh A Danker Ashleigh.danker@dinsmore.com,
                SDCMLFiles@DINSMORE.COM;Katrice.ortiz@dinsmore.com
 15            Clifford S Davidson csdavidson@swlaw.com, jlanglois@swlaw.com;cliff-davidson-
                7586@ecf.pacerpro.com
 16            Joseph C Delmotte ecfcacb@aldridgepite.com,
                JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com
 17            Lei Lei Wang Ekvall - DECEASED - lekvall@swelawfirm.com,
                lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
 18            Timothy W Evanston tevanston@swelawfirm.com,
                gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
 19            Jeremy Faith Jeremy@MarguliesFaithlaw.com,
                Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaithla
 20             w.com
               James J Finsten , jimfinsten@hotmail.com
 21            James J Finsten jfinsten@lurie-zepeda.com, jimfinsten@hotmail.com
               Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
 22             lawyers.net,addy.flores@flpllp.com
               Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
 23            Andrew Goodman agoodman@andyglaw.com,
                Goodman.AndrewR102467@notify.bestcase.com
 24            M. Jonathan Hayes jhayes@rhmfirm.com,
                roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;r
 25             uss@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosari
                o@rhmfirm.com
 26            Marshall J Hogan mhogan@swlaw.com, knestuk@swlaw.com
               Bradford G Hughes bhughes@Clarkhill.com, mdelosreyes@clarkhill.com
 27            Razmig Izakelian razmigizakelian@quinnemanuel.com
               Lewis R Landau Lew@Landaunet.com
 28

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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                                     Main Document     Page 53 of 54
               Craig G Margulies Craig@MarguliesFaithlaw.com,
  1             Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithla
                w.com
  2            Peter J Mastan peter.mastan@dinsmore.com,
                SDCMLFiles@dinsmore.com;Katrice.ortiz@dinsmore.com
  3            Edith R. Matthai ematthai@romalaw.com, lrobie@romalaw.com
               Elissa Miller emiller@sulmeyerlaw.com,
  4             emillersk@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
               Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
  5            Scott Olson scott.olson@bclplaw.com, scott-olson-
                2161@ecf.pacerpro.com,ecfsfdocket@vedderprice.com,nortega@vedderprice.com
  6            Carmela Pagay ctp@lnbyg.com
               Carmela Pagay ctp@lnbyb.com
  7            Ambrish B Patel apatelEI@americaninfosource.com
               Leonard Pena lpena@penalaw.com,
  8             penasomaecf@gmail.com;penalr72746@notify.bestcase.com
               Michael J Quinn mquinn@vedderprice.com, ecfladocket@vedderprice.com,michael-
  9             quinn-2870@ecf.pacerpro.com
               Matthew D. Resnik matt@rhmfirm.com,
 10             roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;pri
                scilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;davi
 11             d@rhmfirm.com;sloan@rhmfirm.com
               Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com
 12            Kevin C Ronk Kevin@portilloronk.com, Attorneys@portilloronk.com
               Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
 13            William F Savino wsavino@woodsoviatt.com, lherald@woodsoviatt.com
               Najah J Shariff najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
 14            Gary A Starre gastarre@gmail.com, mmoonniiee@gmail.com
               Richard P Steelman rps@lnbyg.com, john@lnbyb.com
 15            Philip E Strok pstrok@swelawfirm.com,
                gcruz@swelawfirm.com;1garrett@swelawfirm.com;jchung@swelawfirm.com
 16            Boris Treyzon bt@treyzon.com, sgonzales@actslaw.com
               United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 17            Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com
               Timothy J Yoo tjy@lnbyb.com
 18
 19   2. SERVED BY UNITED STATES MAIL: On October 29, 2021, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 20   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 21   completed no later than 24 hours after the document is filed.

      Thomas Vincent Girardi
 22
      Belmont Village Senior Living
      455 East Angeleno Avenue
 23
      Burbank, California 91501
 24
      Thomas Vincent Girardi
      1126 Wilshire Boulevard
 25
      Los Angeles, CA 90017-1904
 26
                                                                              Service information continued on attached page
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  1   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
  2   on October 29, 2021, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
  3   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
  4
      None.
  5
  6   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  7
       October 29, 2021                     Stephanie Reichert                           /s/ Stephanie Reichert
  8    Date                                 Type Name                                    Signature

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
